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                              United States District Court
                                    OFFICE OF THE CLERK
                                Western District of Louisiana

                                       August 26, 2021

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                                                                          Lafayette, LA 70501
                                                                             337-593-5000



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 675 Jordan Street
 Shreveport, LA 71101

 Wal-Mart Louisiana LLC
 c/o Stephen P. Beiser
 McGlinchey Stafford
 P O Box 60643
 New Orleans, LA 70160-0643


 Re:    Robinson-Coles v. Wal-Mart Stores Inc
        Case No.: 5:10-cv-01639

 Dear All:

       I have been contacted by Judge Donald E. Walter who presided over the above-
 mentioned case.

        Judge Walter informed me that it has been brought to his attention that while he
 presided over the case, he owned stock in Wal-Mart. His ownership of stock neither
 affected nor impacted his decisions in this case. However, his stock ownership would have
 required recusal under the Code of Conduct for United States Judges, and thus, Judge
 Walter directed that I notify the parties of the conflict.

         Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance for addressing disqualification that is not discovered until
 after a judge has participated in a case:

               [A] judge should disclose to the parties the facts bearing on
               disqualification as soon as those facts are learned, even though that
               may occur after entry of the decision. The parties may then determine
               what relief they may seek and a court (without the disqualified judge)
               will decide the legal consequence, if any, arising from the
               participation of the disqualified judge in the entered decision.
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       Although Advisory Opinion 71 contemplated disqualification after a Court of
 Appeals oral argument, the Committee explained “[s]imilar considerations would apply
 when a judgment was entered in a district court by a judge and it is later learned that the
 judge was disqualified.”

        With Advisory Opinion 71 in mind, you are invited to respond to Judge Walter’s
 disclosure of a conflict in this case. Should you wish to respond, please submit your
 response on or before September 10, 2021. Any response will be considered by another
 judge of this court without the participation of Judge Walter.

                                                  Sincerely,



                                                  TONY R. MOORE
                                                  Clerk of Court
